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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
        v.                                         :        Crim No. 1:22-cr-00354-RCL
                                                   :
RICHARD SLAUGHTER, and                             :
CADEN PAUL GOTTFRIED,                              :
                                                   :
             Defendants.                           :

               UNITED STATES’ PRETRIAL STATEMENT OF THE CASE

        The United States, by and through undersigned counsel, and in compliance with this

Honorable Court’s Pretrial Scheduling Order, Doc. 49, respectfully submits this Pretrial Statement

of the Case, including proposed jury instructions. The government respectfully acknowledges that

the Court requested a joint pretrial statement from the parties. Though the government sought the

defendants’ position on this filing and the incorporated jury instructions, the government did not

receive a response from defense counsel by the time of filing.

        In addition, the government respectfully renews its opposition the defendants’ Motion to

Continue, Doc. 75, and requests a status conference to be held as soon as practicable to address

the trial schedule.

    1. Parties and Counsel

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        Defendants: Richard Slaughter and Caden Paul Gottfried

        Counsel for the Defendant:

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    2. Nature of the Case

        The government proposes that the following is an appropriate statement of the case:

        This is a criminal case. The government has charged the defendants, Richard Slaughter

and Caden Paul Gottfried with violating four separate federal criminal laws based on their presence

and conduct on the grounds of the United States Capitol in Washington, D.C., on January 6, 2021.

        Count One charges Defendant Slaughter with robbery.

        Count Two charges Defendant Slaughter with assaulting, resisting, or impeding certain

officers with a deadly or dangerous weapon or attempting to do so.

        Count Three charges Defendant Slaughter with aiding and abetting assaulting, resisting, or

impeding certain officers with a deadly or dangerous weapon.

        Count Four charges Defendant Gottfried with assaulting, resisting, or impeding certain

officers.

        Count Five charges Defendant Slaughter with obstructing officers during a civil disorder.

        Count Six charges Defendant Gottfried with obstructing officers during a civil disorder.



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        Count Seven charges Defendant Slaughter with entering or remaining within a restricted

building or grounds with a deadly or dangerous weapon.

        Count Eight charges Defendant Gottfried with entering or remaining within a restricted

building or grounds.

        Count Nine charges Defendant Slaughter with disorderly or disruptive conduct within a

restricted building or grounds with a deadly or dangerous weapon.

        Count Ten charges Defendant Gottfried with disorderly or disruptive conduct within a

restricted building or grounds.

        Count Eleven charges Defendant Slaughter with engaging in an act of physical violence

within a restricted building or grounds with a deadly or dangerous weapon.

        Count Twelve charges Defendant Gottfried with engaging in an act of physical violence

within a restricted building or grounds.

        Count Thirteen charges both defendants with engaging in an act of physical violence in the

Capitol Building or on Capitol Grounds.

        Mr. Slaughter and Mr. Gottfried deny each and every charge.

     3. Proposed Jury Instructions

        The government’s proposed jury instructions are attached to this pleading as Attachment

A.

     4. Exhibit List

        Consistent with the Court’s order at the Status Conference held on October 18, the

government will provide its exhibit list on November 8, 2023.

     5. Witness List

        The government’s preliminary witness list is attached to this pleading as Attachment B.



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      6. Expert Witnesses

         The government does not expect to call any expert witnesses. The government reserves its

right to call an expert witness in rebuttal to the defendants’ case, subject to the Court’s ruling on

the government’s Motion in Limine to Exclude Expert Testimony. See Doc. 66.

      7. Prior Convictions

         The government does not intend to use any prior convictions for impeachment purposes.

      8. Stipulations

         The government has inquired whether defense counsel will be willing to enter into any

stipulations ahead of trial. To date, defense counsel has not indicated any such willingness.

      9. Request for Status Conference

         The government respectfully requests a status conference to be held as soon as practicable

to address the defendants’ Motion to Continue, Doc. 75, which the government opposes, see Doc.

76.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              DC Bar No. 481052

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